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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF GEORGIA

                                      DUBLIN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        ) CR 314-002
                                                 )
DERRICK BERNARD MOYE                             )


                                           ORDER


       Before the Court are the various pre-trial discovery motions filed by the parties. Many (if

not all) discovery issues should be addressed in full by the Court’s rulings below and the liberal

discovery policy that the government has confirmed it is applying in this case. To the extent, if

any, either party believes there are specific inadequacies in the discovery exchanged to date that

are not addressed below, the Court directs such party to confer in good faith with the opposing

party and file, if necessary, a discovery motion and supporting brief within seven days from the

date of this Order.

                             GENERAL DISCOVERY MOTION

       As to Defendant’s general discovery requests, Defendant does not allege any specific

inadequacies in the discovery provided by the government to date, presumably because of the

government’s statement that it has followed in this case its customary practice of providing

liberal discovery by furnishing Defendant with investigative reports, Defendant’s criminal

history, audio and video recordings, and other documentary materials as set forth in the First

Certificate of Disclosure. (Doc. no. 173; doc. no. 226, p. 1.) Accordingly, the Court finds that

the position of the United States Attorney in permitting liberal disclosure of the government’s
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file pertaining to this case renders the general discovery requests MOOT. (Doc. no. 103.)

                             MOTION FOR DISCLOSURE OF
                       EXCULPATORY AND IMPEACHING MATERIAL

        Defendant seeks the disclosure of exculpatory and impeaching information in accordance

with the principles of Brady v. Maryland, 373 U.S. 83 (1963), and Giglio v. United States, 405

U.S. 150 (1972). (Doc. no. 104.) To some extent, Defendant’s requests exceed the scope of the

requirement in Brady for government disclosure of information that is favorable to a defendant

and material to the issues of guilt or punishment. Brady, 373 U.S. at 87; United States v. Agurs,

427 U.S. 97 (1976). The Court GRANTS the motion to the extent that the government must

provide all Brady material to Defendant within five days of the date it is received or its existence

becomes known. The government must disclose impeaching information not less than fourteen

days prior to trial.

                        MOTION FOR PRE-TRIAL JAMES HEARING

        Defendant moves for a pre-trial hearing to determine the admissibility of out-of-court

statements by alleged co-conspirators. To lay the proper foundation for admission of a co-

conspirator statement pursuant to Federal Rule of Evidence 801(d)(2)(E) and under the standard

enunciated in United States v. James, 590 F.2d 575, 582 (5th Cir. 1978) ( en banc), “the

government must establish by a preponderance of the evidence: (1) that a conspiracy existed, (2)

that the defendant and the declarant were members of the conspiracy, and (3) that the statement

was made during the course and in furtherance of the conspiracy.” United States v. Harrison,

246 F. App’x 640, 651 (11th Cir. 2007). However, as the trial court may consider both co-

conspirator statements and independent external evidence in making a determination on


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admissibility, a pre-trial determination under James is not required. United States v. Magluta,

418 F.3d 1166, 1177-78 (11th Cir. 2005); United States v. Van Hemelryck, 945 F.2d 1493, 1497-

98 (11th Cir. 1991). Thus, the required finding need not be made pre-trial and can be made at

the close of the government’s case in chief. United States v. Johnson, No. 2:12cr84-MHT, 2012

WL 5392267, at *2 (M.D. Ala. Nov. 5, 2012) (citing United States v. Sanchez, 722 F.2d 1501,

1507 (11th Cir. 1984)). Indeed, the Supreme Court has ruled that a trial court may examine

hearsay statements prior to admission when making a preliminary factual determination under

Rule 801(d)(2)(E) and further explained, “the judge should receive the evidence and give it such

weight as his judgment and experience counsel.” Bourjaily v. United States, 483 U.S. 171, 181

(1987) (citation omitted).

        As the need for a James hearing is lessened in light of Bourjaily, and in the interest of

judicial economy, this determination will be made at trial. Therefore, the Court DENIES the

motion for a pre-trial James hearing. (Doc. no. 108.)

                  MOTION TO ALLOW PARTICIPATION IN VOIR DIRE

        The Court GRANTS this motion. (Doc. no. 112.) Unless otherwise directed by the

presiding District Judge, counsel must submit to the Court, not later than seven days prior to

trial, a list of questions which they desire to ask prospective jurors.

                NOTICE OF WITHDRAWAL OF MOTIONS TO SUPPRESS

        Defendant has withdrawn his preliminary and supplemental motion to suppress. (See

doc. no. 246.) Accordingly, the Clerk is DIRECTED to TERMINATE the suppression

motions from the motions report. (Doc. nos. 106, 216.)



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                         MOTION FOR RECIPROCAL DISCOVERY

       The government seeks reciprocal discovery from Defendant under Rule 16(b) of the

Federal Rules of Criminal Procedure, including a written summary of any evidence Defendant

intends to offer under Fed. R. Evid. 702, 703, or 705. In light of the government’s willingness to

provide liberal discovery and the unopposed nature of the request, the Court GRANTS this

motion (doc. no. 225), and any information not yet furnished shall be provided to the

government no later than fourteen days prior to trial.

       SO ORDERED this 21st day of November, 2014, at Augusta, Georgia.



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                                                              BRIAN K EFik
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                                                              UNITED STATES MAGISTRATE JUDGE
                                                              SOUTHERN DISTRICT OF GEORGIA




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